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 7                       UNITED STATES DISTRICT COURT
 8                     EASTERN DISTRICT OF CALIFORNIA
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10 RAY GONZALES and SHEILA
   DEOCAMPO, in each case individually          Case No. 1:16-CV-00130 DAD EPG
11 and as a successor-in-interest to Joshua     Judge Dale A. Drozd
12 Gonzales, deceased,                          Magistrate Erica P. Grosjean
13              Plaintiffs,                     ORDER GRANTING JOINT
14                                              STIPULATION ALLOWING
          vs.                                   PLAINTIFFS TO FILE AN
15                                              AMENDED COMPLAINT
   CITY OF LINDSAY and DOES 1-10,
16 inclusive,
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              Defendants.
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                                                                             ORDER
     Case 1:16-cv-00130-DAD-EPG Document 23 Filed 06/29/16 Page 2 of 2


 1 Having reviewed the parties’ stipulation (Docs. 21 and 22), IT IS HEREBY
 2 ORDERED THAT:
 3        1. Plaintiffs may file a First Amended Complaint. Specifically, Plaintiffs
 4              seek to file a First Amended Complaint naming City of Lindsay Police
 5              Department Officers Eliseo Mendez, Juan Alcantar, and Andrew Loftin as
 6              individual defendants in the above-referenced action.
 7        2. The first Amended Complaint will serve as the operative complaint in the
 8              above-referenced litigation.
 9        3. Plaintiffs shall file their First Amended Complaint no more than fourteen
10              (14) days after the date of the Court’s order approving this stipulation.
11        4. Defendant City will accept service of the amended complaint by mail.
12        5. The City’s response to Plaintiffs’ First Amended Complaint shall be
13              served and filed no more than twenty-one (21) days after the filing of the
14              First Amended Complaint.
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16 IT IS SO ORDERED.
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       Dated:     June 28, 2016                         /s/
18                                                UNITED STATES MAGISTRATE JUDGE

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